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                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW YORK


WAYNE BALIGA, derivatively on behalf of
LINK MOTION INC. (F/K/A NQ MOBILE                  1:18-cv-11642-VM-DCF
INC.)

                             Plaintiff,            DECLARATION OF DEFENDANT
               -against-                           VINCENT WENYONG SHI IN SUPPORT
                                                   OF MOTION FOR DECLARATORY
LINK MOTION INC. (F/K/A NQ MOBILE                  RELIEF AND MODIFICATION OF THE
INC.), VINCENT WENYONG SHI, JIA                    RECEIVERSHIP ORDER
LIAN,
XIAO YU,

                             Defendants,
               -and-

LINK MOTION INC. (F/K/A NQ MOBILE
INC.),

Nominal Defendant.


   VINCENT WENYONG SHI declares, pursuant to 28 U.S.C. 1746, as follows:

   1. I am an Individual Defendant in the above-captioned action and am a director of the nominal

defendant Link Motion Inc. (the “Company”). I make this declaration in support of the motion for

declaratory relief and modification of the receivership order.

   2. I have reviewed the proposed Complaint against DLA Piper LLP (US), Caryn Schechtman

and Marc A. Silverman (together, the “DLA Defendants”). To the best of my knowledge, the

allegations therein are true and accurate and as to those matters not within my personal knowledge,

I believe them to be true.

   3. I consent to the modification of paragraph 2(e) of the receivership order to permit me, in my

capacity as a director of the Company, to retain counsel to bring an action on behalf of the Company

against the DLA Defendants for legal malpractice and breach of fiduciary duty.
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